
PER CURIAM.
We affirm the judgment and sentence entered against Contesa Gissendanner for DUI Manslaughter and DUI Resulting in Injury to Person or Property in all respects except one. Because the award for costs of investigation was not supported by competent, substantial evidence, we reverse the imposition of $ 8752 in investigative costs and remand with instructions to hold a new hearing. See Negron v. State, 266 So.3d 1266, 2019 WL 1302366 (Fla. 5th DCA Mar. 22, 2019) (remanding for new hearing where award of investigative costs was not supported by competent, substantial evidence); see also Williams v. State, 850 So. 2d 627, 628 (Fla. 2d DCA 2003) (reversing for new restitution hearing where award was based solely on contested hearsay evidence (citing Sherwood v. State, 832 So. 2d 926 (Fla. 2d DCA 2002) )).
*214AFFIRMED in part; REVERSED in part; and REMANDED with instructions.
ORFINGER, BERGER and EISNAUGLE, JJ., concur.
